
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 96-1654

                                    LOUIS KUSHNER,

                                Plaintiff, Appellant,

                                          v.

                             UNITED STATES RURAL ECONOMIC
                          AND COMMUNITY DEVELOPMENT AGENCY,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                  [Hon. George A. O'Toole, Jr., U.S. District Judge]

                                 ____________________

                                        Before

                               Selya, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Louis Kushner on brief pro se.
            _____________
            Donald K. Stern, United States Attorney, and Christopher  Alberto,
            _______________                              ____________________
        Assistant United  States Attorney,  on Motion for  Summary Disposition
        for appellee.


                                 ____________________

                                   February 3, 1997
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                      Per Curiam.  The district court dismissed appellant
                      __________

            Louis Kushner's  complaint  against the  United States  Rural

            Economic  and  Community   Development  Agency  ("RECD")  for

            failing to show good  cause for not effecting service  on the

            RECD.  However, appellant never filed a notice of appeal from

            this  dismissal;  as such,  it is  not before  us.   The only

            orders  from which  a timely  appeal has  been taken  are the

            denial  of appellant's motion to reopen and the denial of the

            accompanying motion  for emergency  relief.  Because  we find

            that  the district court did not abuse its discretion when it

            refused to reopen the case, we need not address the propriety

            of the latter motion.

                      Although not  labelled as a motion  for relief from

            judgment  under Fed.  R.  Civ. P.  60(b),  we shall  construe

            appellant's  motion to  reopen as such  a motion.   See  7 J.
                                                                ___

            Moore, Moore's Federal Practice   60.18[8], at 60-139 (2d ed.
                   ________________________

            1996).  We review  a district court's denial of a  Rule 60(b)

            motion for abuse of discretion.  Dankese v. Defense Logistics
                                             _______    _________________

            Agency, 693 F.2d 13,  15 (1st Cir. 1982).  Two subsections of
            ______

            Rule  60(b) possibly  are applicable  to appellant's  motion:

            (1) Rule 60(b)(3) which provides for relief from judgment for

            the "misconduct  of an adverse party"; and  (2) Rule 60(b)(6)

            which  provides  for  relief  from judgment  for  "any  other

            reason."





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                      To prevail under Rule 60(b)(3), appellant must show

            how the  RECD's alleged  misconduct prevented him  from fully

            presenting his case  in the district court.   See Perez-Perez
                                                          ___ ___________

            v.  Popular Leasing Rental, Inc., 993 F.2d 281, 285 (1st Cir.
                ____________________________

            1993).   The motion to reopen, which is a typewritten version

            of  appellant's complaint,  offers no  explanation concerning

            this  issue.   Although  appellant  sets  out  how  the  RECD

            allegedly  prohibited  him  from  pursuing  an administrative

            appeal, he does not describe any improper conduct by the RECD

            with  regard to  the  dismissal of  appellant's complaint  or

            error in the district court's dismissal of appellant's action

            for failure to effectuate service.

                      As for Rule 60(b)(6), it cannot be used "to  escape

            the  consequences of failure to take a timely appeal."  Cotto
                                                                    _____

            v. United  States, 993 F.2d 274, 278  (1st Cir. 1993).  Thus,
               ______________

            "[a]bsent exceptional and  compelling circumstances, a  party

            will  not be granted relief from a judgment under clause (6).

            . . ."   Moore's Federal Practice, supra,    60.27[1], at 60-
                     ________________________  _____

            269; Cotto, supra.   To  meet this  standard, appellant  must
                 _____  _____

            show that  he was not at fault for not taking a timely appeal

            from  the dismissal of his complaint.  See Cotto, 993 F.2d at
                                                   ___ _____

            280.   Because  the motion  to reopen  does not  address this

            question,  appellant was  not entitled  to relief  under Rule

            60(b)(6).





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                      For  the  foregoing reasons,  the  judgment  of the

            district court is affirmed.
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